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                                     UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEW JERSEY

      ___________________________________
                                                    :      Case No. 17-cv-12179-SDW-LDW
      In the Matter of C.G.,                        :

      Emeric Gerval                         :
                      Petitioner,         :
      v.                                  :
                                          :
      Niurka Gonzalez,                    :
                                          :
                   Respondent             :
      ____________________________________:

                     RESPONSE TO PETITION FOR RETURN, APPLICATION
                   FOR DISMISSAL OF PETITION AND ALTERNATIVE RELIEF

                                        PRELIMINARY STATEMENT

           1.   Pursuant to 22 USC 9001, and 22 USC 9004 et seq., and in accordance with the Order

                entered by this Court on March 28, 2018; and confirmed by Order entered May, 14,

                2018; Patricia E Apy Esq. answers the Petition and Answer filed by both parties in the

                above captioned matter, on behalf of the minor child C.G.              Respectfully, that

                application asserts that the Petitioner, Emeric Gerval has not met the statutory

                requirements to provide for the extraordinary relief contained in the requested orders,

                and alternatively there exist affirmative defenses which require the Court to exercise its

                discretion in denying a return.     Accordingly, it is respectfully requested that the

                application must be dismissed. Didon v Castillo , 830 F.3d 313 (3d Cir. 2016); Koch v

                Koch 450 F.3d. 703,711 ( 7th Cir. 2006)

           2.   The Law Guardian concurs that both the United States of America and France are

                Contracting States under the Hague Convention on the Civil Aspects of International
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              Child Abduction (hereinafter referred to as “The Convention”); that the Treaty applies;

              and that venue is properly before this Court in accordance with 22 USC 9003.

         3.   The Law Guardian agrees with the original states signatory of the Treaty and the

              express language they chose which indicates that they were, “firmly convinced that the

              interests of children are of paramount importance in their custody.” The application of

              the Convention is designed to secure the return of wrongfully removed or retained

              children, victims of child abduction and restore them to the country of habitual

              residence, where they resided “immediately before any breach of custody or access

              occurred.” Article 4.

         4.   As Law Guardian of a child of the age of this one, the most important element of

              meeting the requirements of the charge of this Court, is to insure that the best interests

              of a minor child, are eventually considered by the Court of competent jurisdiction, in

              the Country which has served as her habitual residence. A review of the petition and

              accompanying documentation filed before this Court, and the documents in support of

              the Petition, without more, confirms that the minor child in this matter has not been

              subjected to a wrongful removal or retention by a parent, from her habitual residence

              within the meaning of the Convention, and therefore, any ongoing dispute with respect

              to her best interests, is not a matter of the application of Federal law, but of an eventual

              substantive inquiry of the Court of competent jurisdiction.

                                              JURISDICTION

         5.   The portion of this action brought alleging a wrongful removal and/or retention of the

              minor child, C.G; pursuant to the Convention and 22 U.S.C.9001 et. seq., the

              International Child Abduction Remedies Act (hereinafter ICARA) would, if true,




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              constitute a cause of action cognizable under the Act., and as a result, this Court may,

              as an initial proposition, exercise its concurrent jurisdiction, limited to a determination

              of the application of the Treaty. Based upon the affirmative filing of the Petitioner, I

              do not believe that he has raised a prima facie case, and therefore, no separate exercise

              of “federal question’ jurisdiction has been raised. 28 USC 1331.

                                           NEW JERSEY PROCEEDINGS

         6.   It is uncontroverted that on May 3, 2017, the Respondent Mother filed the first

              application before any judicial body seeking an order affirming the physical custody of

              the minor child in the Mother, subject to the exercise of rights of parental access of the

              Petitioner Father, which she sought be established in that proceeding. At the time when

              her application was filed, she affirmed that the minor child had been in the United

              States, from approximately August 15, 2015, nearly 1 year and 9 months. She certified

              that no application had been made in France with regard to the care or custody of the

              child.

         7.   In response to that filing, both parties engaged counsel and several things happened.

              First, in early June of 2016 the parties executed a document severing their civil

              partnership under French law.       They then began to negotiate a shared parenting

              agreement; several drafts of orders of Consent were exchanged, but no agreement to a

              shared parenting plan could be reached. The return date of the Mother’s application

              was scheduled for July 18, 2017. The matter was subsequently adjourned until July 31,

              2017. Sometime within that time period, the Petitioner filed his administrative

              application to the French Central Authority under the Hague Convention on the Civil

              Aspects of International Child Abduction, only a portion of which is appended to the




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              filed Petition. Sec. 5 of that application, entitled “Annex I”, confirms that the

              Petitioner’s Hague application was filed in response to the Mother’s State Court filing,

              and alleges that, “ the illegal removal started in July 2016 when my ex-partner canceled

              her one-way flight tickets and a procedure has been initiated in May 2017 to the New

              Jersey State Court.” In reviewing the express written document on which the Petitioner

              relies regarding the parties’ agreement, the return date reflected is January of 2016.

         8.   It is unclear from the appended documents, however, on September 7, 2017 Judge

              Council received correspondence in the form of a form letter documenting that an

              administrative filing had been lodged with the French Central Authority and

              transmitted to the United States Department of State. That letter reiterated the

              requirements of the Treaty under Article 16: “After receiving notice of a wrongful

              removal or retention of a child in the sense of Article 3, the judicial or administrative

              authorities of the Contracting State to which the child has been removed or in which it

              has been retained shall not decide the merits of rights of custody until it has been

              determined that the child is not to be returned under the Convention or unless an

              application under this Convention is not lodged within a reasonable time following

              receipt of notice.”

         9.   While the Petitioner could have immediately advanced his argument of wrongful

              retention before the State court, as permitted under the Treaty, he chose not to do so,

              and argued instead that the State Court proceeding not be permitted to proceed. The

              Honorable Gerald Council dismissed, without prejudice, the pending non-dissolution

              custody action “pending the Hague application” on September 8, 2017. It would be

              nearly 3 months, until November 29, 2017 when the first judicial application was made




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               to the United States Courts. There is no question that under substantive state law,

               exclusive jurisdiction for the rendering of initial child custody determination wrested in

               the Superior Court of New Jersey-Family Part, County of Mercer, United States of

               America.

                                        FRENCH PROCEEDINGS

         10.   The Respondent has received notice of proceedings having been initiated on June 26,

               2018 by the Petitioner regarding the care and custody of the minor child, to take place

               in France on or about September 24, 2016. Those documents were not translated into

               English and were not submitted to the Law Guardian. They are relevant to this Court’s

               determination only to confirm that there exists no order from a French Court

               establishing the child’s habitual residence, nor the issues of parental responsibility,

               capable of recognition or enforcement.

                                 STATUS OF THE MINOR DAUGHTER

         11.   The Petitioner is required to demonstrate, on the face of the Petition, the basis for the

               application of the Treaty. The Petition asserts that the child was born in France and was

               five months old at the time that she travelled with her mother to the United States.

         12.   The document executed by the Respondent contains an agreement by the parties that

               the Mother and minor child would remain in the United States with the consent of the

               Father until January of 2016. There is no reference to habitual residence, no reference

               to choice of law, no reference to the existing law of either country; and this agreement

               was admittedly not accompanied by any order.

         13.   In the Father’s Annex I, the document submitted to the French Central Authority, he

               confirms that the Mother did not return in January of 2016. However, according to the




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               Petition, the first time that the Petitioner is aware that the Plaintiff is not prepared to

               permanently move back to France is in July of 2016. This provision makes absolutely

               no sense. There is provided no additional order which extended the consent, nor

               importantly, no end date by which the minor child was required to be repatriated, after

               January of 2016. It is clear, that the Petitioner consented to the extension of time for

               an indeterminate time in the United States, without an express extension of the prior

               written consent.     The Petitioner took no steps to in France or in the United States to

               secure the immediate return of the minor child to the United States. Despite asserting

               that there was a new agreement, no proof of same has been provided.

         14.   Further, the Petitioner waited an entire year, and only after his and his attorney’s efforts

               at negotiating a parenting time agreement were unsuccessful in State Court, to allege

               that an abduction had taken place. . Either the Petitioner agreed in January of 2016 that

               the minor child could remain in the United States an indeterminate time, or he

               acquiesced to the minor child remaining in the United States, and made his Hague

               application a year and six months after the Respondent failed to return in January.

               Either way, the habitual residence would under those circumstances be the United

               States of America.

                                             RIGHTS OF CUSTODY

         15.   As regards the minor daughter, the Respondent other than the first five months of her

               life, has resided in the United States. The pleadings reflect only one visit of the

               Petitioner in July of 2016,      It should be noted that despite an order providing a

               mechanism for the exercise of parental access as a provisional measure, no request has




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                 been made by the Petitioner to the Law Guardian to arrange parental access in any

                 form.

         16.     While the Petitioner may asserts de jure rights of custody pursuant to French law, no

                 such proofs were appended to the Petition.

                                                  RELIEF REQUESTED

               WHEREFORE, the Law Guardian, respectfully requests on behalf of the child the

         following relief:

               For an Order pursuant to 42 U.S.C. 9001 et. seq.

               A.        Dismissing the Petition as filed, and denying all other requested relief of the

                         Petitioner;

               B.        Finding that as of no later than January of 2017, if not sooner, the United States

                         of America, State of New Jersey became the habitual residence of C.G. and no

                         wrongful removal or retention has occurred pursuant to Articles 3 and 5 of the

                         Treaty.

                                          AFFIRMATIVE DEFENSES

               Even in the event that that the Court were to determine that the retention of the minor

      daughter could be considered “wrongful” within the meaning of the Convention, the Court must

      decline to return the subject children to France pursuant to the provisions of the Treaty

               A.    Pursuant to Article 13(a), the behavior of the Petitioner, both at the time alleged to

                     constitute the wrongful removal and his behavior thereafter, evidences a lack of

                     intention to actually exercise custody rights which may have inured to him as a

                     matter of law, and his behavior subsequent to the removal alleged to be wrongful.




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            B.     Pursuant to Article 12, the Court should decline to order the repatriation of the

                   child, as the child has become well-settled in the United States State of New Jersey,

                   and there was a year between the date alleged to constitute the wrongful retention

                   of the child, and the filing of the application for return of the child. Belay v

                   Getachew, 272 F.Supp 2d 553 ( D.Md. 2003)

                                                     FINAL ORDER

            A. The Respondent seeks an Order dismissing completely the prayer for relief contained

                 in the application as made by the Petitioner with respect to the minor children, and

                 directing the parties to the New Jersey Superior Court, County of Mercer to resolve

                 any disputed terms and conditions of parenting time in accordance with the best

                 interests of the minor child, and for the enforcement of any foreign orders which may

                 in the future be alleged to be capable of such enforcement.

            B. Denying, pursuant to Article 26 of The Convention, any payment of expenditures

                 and/or costs to date alleged by Petitioner to be compensable in this matter.

            C. For such further relief as the Court may deem equitable and just.



      DATED:        July 16, 2018
                                                          /S/
                                                   ____________________________
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